       Case 23-00999-5-JNC                      Doc 376 Filed 02/23/24 Entered 02/24/24 00:36:47                                            Page 1 of 6
                                                               United States Bankruptcy Court
                                                              Eastern District of North Carolina
In re:                                                                                                                 Case No. 23-00999-JNC
Covenant Roofing and Construction Inc                                                                                  Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0417-5                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Feb 21, 2024                                               Form ID: pdf014                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 23, 2024:
Recip ID                 Recipient Name and Address
db                    #+ Covenant Roofing and Construction Inc, 1023 S. Miami Blvd, Durham, NC 27703-5121
cr                     + Centercard, 855 106th Avenue NE, Bellevue, WA 98004-4382

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 23, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 21, 2024 at the address(es) listed
below:
Name                               Email Address
A Scott McKellar
                                   smckellar@bwsw.com jtharrington@bwsw.com;asm@trustesolutions.net

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Anthony F. Giuliano
                                   on behalf of Interested Party Samson Funding afg@glpcny.com

Benjamin Higgins
                                   on behalf of Creditor U.S. Small Business Administration benjamin.higgins2@usdoj.gov Usance.bankruptcy@usdoj.gov

Brian Behr
      Case 23-00999-5-JNC              Doc 376 Filed 02/23/24 Entered 02/24/24 00:36:47                                      Page 2 of 6
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                           on behalf of Bankruptcy Administrator Bankruptcy Administrator brian_behr@nceba.uscourts.gov
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                          e@janvierlaw.com;lpetruska@smvt.com

Zachary Layne
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TOTAL: 53
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   SO ORDERED.

   SIGNED this 21 day of February, 2024.




                                                 _____________________________________________
                                                 Joseph N. Callaway
                                                 United States Bankruptcy Judge
   ___________________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                   RALEIGH DIVISION

   IN RE:
   COVENANT ROOFING AND                                         CASE NO: 23-00999-5-JNC
   CONSTRUCTION, INC.
            Debtor                                                             Chapter 7

                   ORDER NOTICING AND REQUIRING ATTENDANCE AT
                        SHOW CAUSE HEARING ON CONTEMPT

           The matter before the court is the Order (Dkt. 301) and Amended Order (Dkt. 313) to
   Show Cause, both dated January 29, 2024 (together, the “Orders”), directed against
   CENTERCARD of Bellevue, Washington, and noticed for hearing on February 20, 2024 at 2:30
   p.m. before this court sitting in Raleigh, North Carolina. From the record, it appears and the court
   finds as follows:

           1. This matter is a core proceeding pursuant to 28 U.S.C. §157, and the court has the full
   jurisdiction pursuant to 28 U.S.C. §§ 151, 157, and 1334. The court has the authority to hear
   this matter pursuant to the General Order of Reference entered August 3, 1984, by the United
   States District Court for the Eastern District of North Carolina.

           2. The debtor herein filed a voluntary petition under Chapter 11 of the United States
   Bankruptcy Code on April 11, 2023. The case was converted to one under chapter 7 on June 29,
   2023. Mr. James B. Angell of Raleigh, North Carolina, was duly appointed and qualified to hold
   the office of and act as the Chapter 7 Trustee in it.

            3. On August 7, 2023, at the request of Trustee Angell, the Court entered an Order
   Directing a Rule 2004 Examination (Dkt. 170; the “Rule 2004 Order”), which compelled and
   directed CENTERCARD to produce to the Trustee described documents and records pertaining to
   the debtor and this case. The Rule 2004 Order was served by the Trustee on CENTERCARD by
   first-class United States mail on August 8, 2023. (Dkt. 193).
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          5. CENTERCARD failed to respond to the Order Directing a Rule 2004 Examination by
   producing documents and records, or otherwise communicating with the Trustee. In fact, the
   Trustee reports that he has had no communications or acknowledgement back from
   CENTERCARD regarding this matter.

          6. Consequently, the Trustee sought and obtained the Orders, which specified that a hearing
   on noncompliance was set before the court for:

          DATE: Tuesday, February 20, 2024
          TIME: 02:30 PM
          PLACE: 300 Fayetteville Street, 3rd Floor Courtroom, Raleigh, NC 27601

           6. CENTERCARD was duly sent notice of the February 20 hearing, again by first class
   United States mail, in advance of the hearing. The Trustee heard nothing back from
   CENTERCARD in response to the Orders. When the matter was called for hearing in open court
   at the noted date and time, Trustee Angell appeared and was prepared to proceed, but neither
   CENTERCARD nor an attorney on its behalf appeared at the February 20 hearing.

            7. CENTERCARD is and remains in active and continuing default, disobedience, and
   defiance of the Rule 2004 Order. In addition, CENTERCARD in active and continuing default and
   defiance of the Orders. CENTERCARD must therefore appear before the court to explain its
   failure to obey orders directed to it and show why it should not be held in civil contempt.
          THEREFORE, IT IS HEREBY ORDERED AND DECREED:
          1. CENTERCARD be sanctioned for its failure to appear at the February 20 hearing, and
             consequently assessed attorney fees of $500.00 incurred by the Trustee in connection
             therewith. CENTERCARD is DIRECTED to pay the stated amount to Trustee Angell
             without delay.

          2. CENTERCARD is FURTHER DIRECTED, under pain of contempt, to submit the
             documents requested in the Rule 2004 Order (Dkt. 170) forthwith and otherwise
             comply with the discovery requests contained therein. Such compliance must be
             completed and noted by March 12, 2024.

          3. A further hearing on CENTERCARD’s noncompliance with the Orders and the Rule
             2004 Order is hereby set and noticed for:

              DATE: Thursday, March 21, 2024
              TIME: 11:00 AM
              PLACE: 300 Fayetteville Street, 3rd Floor Courtroom, Raleigh, NC 27601


          4. CENTERCARD is FURTHER DIRECTED to appear at that hearing in person
             through a designated officer, representative, or attorney, to SHOW CAUSE as to why:
             (a) it should not be held in CIVIL CONTEMPT for its continuing violations of the
             Rule 2004 Order and failure to appear per the Orders; (b) the Trustee is not entitled to
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           further relief including assessment of attorney fees; (c) monetary sanctions in the form
           of a daily fine should not be imposed; and (d) detention of its representative(s) by
           United States Marshals should not be compelled in the event of further failure to appear.

        5. Within three business days of its entry, the Trustee is directed to serve copies of this
           order on CENTERCARD by (a) express delivery; (b) additionally, by United States
           Post Office certified mail, return receipt requested; and (c) electronic means if that
           information is ascertainable. He is further directed to file proof of such service when
           made and the results when known prior to the next hearing.

                                     END OF DOCUMENT
